                  Case
qAO 245C (Rev. 06/05)     1:07-cr-00102-LG-RHW
                      AmendedJudgmentin a Criminal Cas€                 Document 44             Filed 09/22/08 (NOTB:
                                                                                                                  Page    1 of
                                                                                                                      Identify  6 wilh Asterisks(*))
                                                                                                                              Changes
         SheetI


                                                    UNrrBoSrarpsDrsrnrcrCounr
                            SOUTHERN                                   Districtof                                  MISSISSIPPI
           IINITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                     v.
                             William Bates                                                                       l:07cr1

Date of Original Judgment: 9119/2008
(Or DateofLast AmendedJudgment)
Reason for Amendment:                                                                                                                 i   .:- ...- ;

n   Corr€ctionof Sentence
                        on Rernand( 18 U.S.C.3742(D0) andQ))                      !    Modificationof Supenision
!   Reductionof Sentencefor ChangedCircunstances (Fed.R. Crim.                    E    Modificatjon oflmposed Term oflmprisonment for Extraordinary and
    P. 350))                                                                           Cornpelling Reasons(18 U.S.C. $ 3582(cXlD
n   Conectionof Sentenceby Sentencing Court(Fed.R. Crim.P. 35(a))                 !    ModificationoflmposedTermof Imprisonm€nt for Rehoactive
                                                                                                                                             Amendment(s)
r   Corectionof Sentencefor ClericalMistakefFed.R. Crim. P. 36)                        to theSentencing         (18 U.S.C.g 3582(cX2))
                                                                                                       Guidelines
                                                                                  !    DirectMotionto DistrictCourtPursuant!       ZSU.S.C.$ZZSSot
                                                                                       ! l8 U.S.c.$ l55e(c)(7)
                                                                                  n    ModificationofRestitutionOrder(18 U.S.C.$ 3664)

THE DET'ENDANT:
r pleaded
        guiltyto count(s) 3. 5 (Count11.Final Orderof Forfeitureentered8/6i2008)
!    pleadeduolo contenderelo count(s)
     which was accepted bv the court.
I    wasfound guilty on court(s)
     after a plea ofnot guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                          Nature of Offense                                                       OffenseEnded                          Count
1 8U . S . C6. 4 1                       Theft of Government Propedy or Funds                                   9/6/06                      3
1 8U . S . C1. 0 0 1                     False Statem€nts                                                       1/7/06                      5



       The defendant is sentencedas provided in pages 2               through 6              olthis judgment. The sentenceis imposedpursuantto
the Sentencing Reform Act of 1984.
!    The defendant has been found not guilty on count(s)
r    C o u n t ( s )1 ,2 , 4 , 6 , 7 .8 , 9 . l 0            !   is   r are dismissedon the motionofthe UnitedSmtes.
         It is ordered that the def€ndant must notilv the United StatesAttomev for this district within 30 davs of anv chanse ofname. residence.
or mailing addressuntil all fines. restitution costs.ind specialassessmenrs in$osed by this iudgmentare fufiy paid.'l fordEredto pay restrrution.
the deferidant must noti$ the c6urt and United Siates aitorney ofmaterial ch'angesiri ecoriomic circumstanids.




                                                                                  The Honorable Louis Guirola. Jr.         U. S. District Judse
                                                                                  Name and Title of Judse
                                                                                                                        r./
                                                                                             {/- 2Z - >cC
                                                                                  "*
                        Case 1:07-cr-00102-LG-RHW                    Document 44           Filed 09/22/08            Page 2 of 6

AO 2458           Gev. 06/05) Judgment in Criminal Case
                  Sheet2   Impisonment

                                                                                                         Judgment-   Page
DEFENDANT: WilliamBates
CASE NUMBER: l:07cr102LG-RHW-001


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody ofthe United StatesBureau ofPrisons to be imprisoned for a
total telm ol

 5 months as to Counts 3 and 5, to run conaurrently




   It[        The court makes the following recommendationsto the Bueau ofPrisons:

 that the defendant be designated to an inslitution nearest his home for purposes ofvisitation;




   tr The defendant is remanded to the custody ofthe United StatesMarshal.
   d The defendant shall surrenderto the U.S. Marshal for this district within 60 days or the defendant shall surrender for service of
              sentenceat the institution designatedby the Bureau ofPrisons within 72 hours ofdesjgnation, WHICHEVER IS EARLIER.

                   ! a t                                  !   a.m.    E   p.-.     on

                   LJ    asnotifiedby the United StatesMarshal.

              n    The defendantshall sunenderfor serviceofsent€nceat the institutiondesisnatedby the BureauofPrisons:

                   I     before2 p.m. on

                   E     as notifredby the Unit€dStatesMarshal.

                   D     asnotifiedby the Probationor PretriaiServicesOffice.



                                                                          RETURN
         I have executed thisjudgment as follows:




                   Defendant delivered on

         at                                                   with a certified copy ofthis judgment.




                                                                                                          TJNITEDSTATESMARSHAL



                                                                                 By
                                                                                                       DEPUTYLNITED STATESMARSTIAL
                    Case 1:07-cr-00102-LG-RHW                       Document 44             Filed 09/22/08            Page 3 of 6


AO 2458        (Rev. 06/05) Judement in a Criminal Cnse
               Sheet 3   Supervised Release

                                                                                                            Judgment Page
DEFENDANT: WilliamBates
CASE NIJMBER: 1:07crl02LG-RHW-001
                                                          SUPERVISEDRELEASE
Upon releasefrom imprisonment, the defendant shall be on supervised release for a term of:


    3 yea$ as to Counts 3 and 5, to run concurrently



     The defendantmusl reportto the probationoffice in the districtto which the def€ndantis releasedwithin 72 hoursofreleasefrom the
custodYof the Bureau of Pdsons.
The defendantshallnot commitanotherfederal,stateor local crime.
The defendantshallnot unlawfully possess
                                       a controlledsubstance.The defendantshallrefrainfrom anv unlawfuluseofa controlled
substance.The defendantshall submitto onedrug testwithin 15 daysofreleasefrom rmprisonment anil at leasttrvoperiodicdrugtests
thereafter,asdeterminedby the court.
(          The abovedrug testingconditionis suspended,
                                                     basedon th€ court's determination
                                                                                     that the defendantposesa low risk of
           futuresubstanceabuse.(Check,if applicable.)
(          The defendantshallnot possessa firearm,ammunition,destructivedevice,or any otherdangerousweapon. (Check,if applicable.)

n          The defendantshallcoopemtein the collectionofDNA asdirectedby the probationofficer. (Check,ifapplicable.)

!          The defendantshallregisterwith the statesexoffenderrcgistrationagencyin the statewherethe defendantresides,works,or is a
           student,asdirectedby the probationofficer. (Check,ifapplicable.)
n          The defendantshallparticipatein an approvedprogramfor domesticviolence. (Check,if applicable.)
   If thisjudgmentimposesa fine or rcstitution,it is a conditionof supervised
                                                                            releasethat the defendantpay in accordance
                                                                                                                     with the
ScheduleofPatmenlssheetofrhis judgment.
     The defendantmust complywith the standardconditionsthathavebeenadoptedby this court aswell aswith any additionalconditions
on the attachedpage

                                            STAI\DARD CONDITIONS OF SUPERVISION
     l)     the defendant shall not leave thejudicial district without the perrnission ofthe court or probation officer;
     2)     thedefendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
            each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
     4)     the defendant shall support his or her dependentsand meet other fami)y responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceplaDlereasons;
     6)     the defendant shall notify the Fobation officer at least ten days prior to any change in residence or emplolrnent;
     7)     the delendantshall refiain lrom excessiveuse ofalcohol and shall not purchase.possess.use.distribute.or admrnisterany
            controlledsubstanceor any paraphemaliarelatedto any controlledsubstances.   eicept as prescribedby a physrcran.
     8)     the defendant shall not frequent places where controlled substancesare illegally sold, used, distributed, or administered;
     9)     the defendantshall not associatewrth.anypersonsengagedin^crimrnalactrvrtyand shall not associalewrth any personconvicledofa
            lerony.unlessgranleopermrssronlo do so by the prooalronollrcer;
    l0)     the defendant shall permit a probatio4 officer_to visit him or her at any time at home or elsewhere and shall permit confiscation ofany
            contrabandobservedin plain view ofthe probationofficer;
    I l)    the defendant shall notifythe probation officer within seventy-two hours ofbeing arested or questionedby a law enforcement officer;
    12)     rhe defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            oernlssronoTthe coun: ano
    l3)     as directed bv the probation officer. the defendant shall notifv third oarties ofrisks that mav be occasionedbv the defendant's criminal
            record or peisonal history or characteristics and shall pen;it the'Drobation officer to make such notificltions and to confirm the
            defendantrscompliance with such notification requiremant.
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AO 2458   (Rev. 06/05) Judgnent in a Criminal Case
          Sheet 3C - Supervised Release


DEFENDANT: William Bates
CASE NIIMBER: I :07ql02Lc-RHW-001

                                        SPECIAL CONDITIONS OF SUPERVISION
 L The defendantshallprovidethe probationoffice with accessto any requestedfinancialinformation.

 2. The defendantshallnot incur new creditchargesor openadditionallinesof creditwithout the approvalof th€ probationoflic€
 unlessthe defendantis in compliaacewith the installmentpaymentschedule.

 3. The defendaatshall participate in the home conhnementprogram wilh electronic monitoring for a period of 5 months and shall
 comply with the rulesofthe programasmandatedby the U.S. Prcbationoflice. The defendantshallcontributeto the costofthe
 programto the extentthe defendantis deemedcapableby theprobationoffice.

 4. The defendantshallpay the fiIIe ard restitutionimposedby thisjudgmetu

 5. The defendaatshallperform60 hoursof communityservicework within the first six monthsofsueprvision. The defendantshall
 performthe communityservicework at specifictimesagreeduponwith the approvedcommumtyserviceagencyandthe U.S.
 Probationofficer. The defendantis responsiblefor providingverificationof completedhoursto the U.S. Probationofficer.
                 Case 1:07-cr-00102-LG-RHW                           Document 44             Filed 09/22/08       Page 5 of 6

AO 2458     (Rev.06/05)Judgmentin a Cdminal Case
            Sheet 5  Criminal Monetary Penalties
                                                                                                    Judgment   Page
DEFENDANT: WilliamBares
CASE NUMBER: l:07crl02LG-RHW-001
                                             CRIMINAL MONETARY PENALTIES
       The defendantmustpay the total criminalmonetarypenaltiesunderthe scheduleofpaymentson Sheet6.


                      Assessment                                          Fine                            Restitution
TOTALS                $200.00                                             $r2,500.00                      $12,696.00


n     The determinationofrestitutionis defefieduntil                  An Amended Judsment in a Criminal Cdse will be entered
      after suchdetemination.

E     The defendant mu$ make restitution (including community restitution) to the following payees in the amount listed below.

      Iflhe defendantmakesa partialpa\,'rnent.eachoaveeshall recervean aooroximalelvDroDorlionedoavment-unlesssDecifiedotherwisein
      the-priorityorder or percintagepa'yrent coluninbelow. Houerer. puiiuanr ro l8-Ll.S.C.$ 3664(i).'allnonlederalvicrims musr be pard
      DeIOreIne untted states ls Dald.

xgy:lP"y:f                                                                       Total Loss* Restitution Ord€red Priority or Percentage



    FEMA - Lockbox                                                                                      $12,696.00
    P. O. Box 70941

    Charlotte,NC 28272-0941




TOTALS                                                                                  0.00 $           12,696.00


!      Restitution amountoldered pursuantto plea agreement $

tr The defendantmustpay intereston restitutionanda fine ofmore than $2,500,unlesstherestitutionor fine is paid in ful| beforethe
       fifteenthday afterthe dateof thej udgment,pursuantto l8 U.S.C.$ 3612(f). All ofthe paymentoptionson Sheet6maybe subject
       to penaltiesfor delidquencyanddefault,pursuantto l8 U.S.C.$ 3612(g).

d      The court determinedthat the defendantdoesnot havethe ability to pay interestandit is orderedthat:

       d    the interest requirementis waived for the     f,       ft""   (   restitution.

       I    the interestrequirementfor the     !   fine        I     restitutionis modifiedasfollows:


* Findingsfor thetotalamountoflossesarerequiredurder Chapters109A,I I0, 110A,and I l3A ofTitle 18for offensescommittedon or after
September  13,1994,but beloreApril 23, 1996.
                     Case 1:07-cr-00102-LG-RHW                  Document 44           Filed 09/22/08           Page 6 of 6

    AO 2458


                                                                                                    Judgment   Page
    DEFENDANT: WilliamBates
    CASENI,MBER: I:O7q1O2LG-RHW-oOI

                                                     SCHEDIT'LEOF'PAYMENTS

    Having assessed
                  the defendant'sability to pay,pa).rnentofthe total crirninalmonetarypenaltiesaredue as follows:

    A    (      Lump sumpaymentof$       25,396.00          dueimmediately,balancedue

                D    not later than                            ,or
                y'   in accordance      E C,     I    D.   n     E.or (Fb"lo",ot
    B t r Payrnentto beginimmediately(may be combinedwith             tr C,      I D, or     I F below);or
    c    !      Pa)rynentin equal                (e.g.,weekly,monthly,quarterly)installmentsof $                  over a period of
                             (e.g.,monthsor years),to commence_(e.g.,30             or60 days)afterthe dateof thisjudgment;or

    D    E      Paymentin equal                 (e.g.,weekly,monthly,quarterly)installmentsof $                   over a period of
                            (e.g.,monthsor years),to commence_            (".g , 30 or 60 days)afterreleasefiom imp sonmentto a
                term ofsupervision;or

         !      Paymentduringthe term ofsupervisedreleasewill commencewithin _(e.g.,30             or 60 days)afterreleasefrom
                imprisonmenl The courtwill setthe palment plan basedon an assessment
                                                                                  ofthe defendant'sability to pay at that time; or

         d      Specialinstructionsregardingthe paymentof criminalmonetarypenalties:

         Paymentofthe fine andrestitutionshallbeginwhile the defendantis incarcerated.Upon release,anyunpaidbalanceon the
         restitutionshallbe paid at a rute of$360.00per monthuntil the balanceis paid in full, and any unpaidbalanceon the fine shallbe
         paid at a ruteof$350.00 per monthuntil the balanceis paid in full, both beginningwithin 30 daysofhis releasefrom custody.



    Unlessrhecounhasexpressly  ordered
                                     otherwise.ifrhisiudp,menrimDoses
                                                                    imprisonmenr. Dayment ofcriminalmonerary        rsduedurins
                                                                                                            oenalries
    imprisonment. All criminal monetarypenalties.exc6pllhose oai.rnentsrhadethrouphr']reFederalBureauof Pri!<ins lnmate Frnancia'l
    ReiponsibilityProgram,aremad€to thdClerk of Cor.rnP. O. Bdx 21552,Jackson,Mg 39225-3552.

    The defendantshallreceivecredit for all paymentspreviouslymadetowardany criminal monetarypenaltiesimposed.



    (    Joint andseveral

         CaseNumbers(includingdefendantnumber)andDefendantandCo-Defendant
                                                                        Names,Total Amount,Jointand SeveralAmount,
                        payee,if appropriate.
         andcorresponding

              Restitutiorof $ 12,696.00duejointly andseverallyby the following defendants:
                                                                                         William Bates,l:07crl02LG-RHW-001
              IsabelBates,1:07cI102LG-RIIW-002.Restitutionis to be paid to FEMA.


    E    The defendantshallpay the costofprosecution.

    E    The defendantshallpay the following courtcost(s):

{   d    fl" d"f"ndant shallforfeit the defendant'sinterestin the following prcpertyto the UnitedStates:
             $12.696.00



    Payments  shallbe appliedin the followingorder:( llassessment.            principal.(J) restirution
                                                                 (2)reslitulion                              (4) finepnncipal.
                                                                                                      Interesr.
    (5i fineinterest.
                    (6) cbmmunityrestitutiori''.
                                             17)peria[ries.
                                                          and18)cbsrs.includingcosrbfprosecution   andcouncosrs.
